      Case 2:19-cv-12025-MLCF-KWR Document 1 Filed 08/05/19 Page 1 of 6



                          UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA


 MAAS SHIPPING LTD, OSR                             CIVIL ACTION
 ROTTERDAM BV, HELLAS
 CONFIDENCE SHIPMGMT SA, NST                        NO.
 ENTERPRISE SA, BELSHIPS
 MANAGEMENT SINGAPORE AND                           JUDGE
 BELSHIPS ASA
                                                    MAGISTRATE JUDGE
 VERSUS

 M/V F.R. BIGELOW, in rem, INGRAM
 BARGE CO., in personam, M/V CSS
 ATLANTA, in rem, CSS ATLANTA,
 INC., in personam, and CARLINE
 MANAGEMENT COMPANY, INC., in
 personam



                                VERIFIED COMPLAINT

        NOW INTO COURT, through undersigned counsel, come plaintiffs: (1) Maas Shipping

Ltd, OSR Rotterdam BV and Hellas Confidence Shipmgmt SA, foreign corporations owning and

managing the M/V MAAS CONFIDENCE (collectively, “MAAS CONFIDENCE interests”); and,

(2) NST Enterprise SA, Belships Management Singapore and Belships ASA, foreign corporations

owning and managing the M/V BELFOREST (collectively, “BELFOREST interests”) and for

their Verified Complaint against: the M/V F.R. BIGELOW, in rem, her owner and manager Ingram

Barge Co., in personam (collectively, “F.R. BIGELOW interests”); the M/V CSS ATLANTA, in

rem, her owner CSS Atlanta, Inc., in personam, and her manager Carline Management Company,

Inc., in personam (collectively, “M/V CSS ATLANTA interests”); aver upon information and

belief as follows:




                                             1
PD.26494236.1
       Case 2:19-cv-12025-MLCF-KWR Document 1 Filed 08/05/19 Page 2 of 6



                                                  1.

        Made defendants herein are:

        (a)         M/V F.R. BIGELOW, in rem, and her owner and manager, Ingram Barge Co., in

personam, a non-Louisiana business corporation with its domicile in Nashville, Tennessee, which

at all times pertinent hereto was authorized to do and doing business in the State of Louisiana and

within the jurisdiction of this Honorable Court as the owner and operator of the M/V F.R.

BIGELOW. The F.R. BIGELOW was pushing a flotilla of barges that collided with the M/V CSS

ATLANTA flotilla which caused allisions with and damage to anchored M/V MAAS

CONFIDENCE and anchored M/V BELFOREST.

        (b)         M/V CSS ATLANTA, in rem, her owner CSS Atlanta, Inc., and her manager

Carline Management Company, Inc., in personam, Louisiana business corporations domiciled in

Geismar, Louisiana, which at all times pertinent hereto were authorized to do and doing business

in the State of Louisiana and within the jurisdiction of this Honorable Court, as the owner and

operator of the M/V CSS ATLANTA. The M/V CSS ATLANTA was pushing a flotilla of barges

that collided with the M/V F.R. BIGELOW flotilla which caused allisions with and damage to

anchored M/V MAAS CONFIDENCE and anchored M/V BELFOREST.

                                                  2.

        This is an admiralty and maritime claim within the meaning of 28 U.S.C. § 1333 and Rule

9(h) of the Federal Rules of Civil Procedure.

                                                  3.

        Venue is proper in this judicial district since the events giving rise to this claim occurred

in this district.




                                                 2
      Case 2:19-cv-12025-MLCF-KWR Document 1 Filed 08/05/19 Page 3 of 6



                                                 4.

       M/V F.R. BIGELOW interests and M/V CSS ATLANTA interests are subject to the

personal jurisdiction of this court because the tortious acts complained of occurred in Louisiana.

                                                 5.

       On 17 January 2019, the M/V MAAS CONFIDENCE was properly and safely anchored at

the upper end of Burnside Anchorage, Mile Marker 165.8, in the Lower Mississippi River. At all

material times, M/V MAAS CONFIDENCE was owned and managed by Maas Shipping Ltd, OSR

Rotterdam BV, and Hellas Confidence Shipmgmt SA.

                                                 6.

       On 17 January 2019, the M/V M/V BELFOREST was properly and safely anchored

towards the middle of Burnside Anchorage, Mile Marker 165.6, in the Lower Mississippi River.

At all material times, M/V BELFOREST was owned and managed by NST Enterprise SA

Belships Management Singapore and Belships ASA

                                                 7.

       During the morning of 17 January 2019, the M/V F.R. BIGELOW apparently lost steering

or power and/or control of her tow and began moving from the west bank of the river to the east

bank of the river towards Burnside Anchorage. Despite M/V F.R. BIGELOW flotilla’s movement

towards the anchorage, the M/V CSS ATLANTA and her tow continued to navigate upriver at

elevated engine speeds between the anchorage and the out of control M/V F.R. BIGELOW flotilla.

The negligent navigation of both flotillas resulted in collision causing allisions with and damage

to anchored ships M/V MASS CONFIDENCE and M/V BELFOREST.

                                                 8.

       As a result of the allision, the M/V MAAS CONFIDENCE had to be taken out of service

and repaired.

                                                 3
      Case 2:19-cv-12025-MLCF-KWR Document 1 Filed 08/05/19 Page 4 of 6



                                                  9.

       As a result of the allision, the M/V BELFOREST had to be taken out service and repaired.

                                                 10.

       M/V F.R. BIGELOW interests and M/V CSS ATLANTA interests are jointly and severally

liable for the damages suffered by M/V MAAS CONFIDENCE interests and M/V BELFOREST

interests as the allisions were caused and/or contributed to by the fault and/or lack of due care on

the part of both M/V F.R. BIGELOW interests and M/V CSS ATLANTA interests for their failure

to exercise ordinary and reasonable care, specifically:

       1.      Operating negligently in high river conditions;

       2.      Failing to maintain a seaworthy vessel;

       3.      Navigating at excessive speeds;

       4.      Failing to hold to permit safe passage;

       5.      Navigating too close to anchored ships with deteriorating traffic conditions;

       6.      Failing to maintain proper lookouts;

       7.      Negligently striking anchored ships;

       8.      Losing control of their respective tows;

       9.      Failing to comply with the Inland Navigation Rules;

       10.     Failing to determine risk of collision and take action to avoid collision;

       11.     Continuing to navigate at elevated speeds towards an out of control flotilla;

       12.     Failing to comply with the Vessel Bridge-To-Bridge Radiotelephone Act; and

       13.     Other acts of negligence to be established at the trial of this matter.




                                                  4
      Case 2:19-cv-12025-MLCF-KWR Document 1 Filed 08/05/19 Page 5 of 6



                                                  11.

        The aforementioned negligence and unseaworthiness were within the privity and

knowledge of M/V F.R. BIGELOW and M/V CSS ATLANTA interests.

                                                  12.

        Further, M/V F.R. BIGELOW interests and M/V CSS ATLANTA interests are jointly and

severally liable for the damages caused by the allisions with the M/V MAAS CONFIDENCE and

M/V BELFOREST under the Pennsylvania Rule, the Oregon Rule, the Louisiana Rule and/or

under the doctrine of res ipsa loquitur, as well as other acts of negligence, strict liability or other

fault to be proven at the trial of this matter.

                                                  13.

        Further, as a result of their negligence, M/V F.R. BIGELOW interests and M/V CSS

ATLANTA interests are jointly and severally liable to M/V MAAS CONFIDENCE interests and

M/V BELFOREST interests for all survey costs and repairs to M/V MAAS CONFIDENCE and

M/V BELFOREST, loss of use and loss of profits, prejudgment interest and other damages in the

total approximate amount of $70,000 for M/V MAAS CONFIDENCE and $650,000 for M/V

BELFOREST.

                                                  14.

        WHEREFORE, after due proceedings had, M/V MAAS CONFIDENCE and M/V

BELFOREST interests respectfully pray that:

        1.      Process in due form of law in causes of admiralty and maritime jurisdiction may

                issue against the M/V F.R. BIGELOW and M/V CSS ATLANTA their engines,

                tackle, apparel, etc., in rem, and that all persons having or claiming any interest in

                said vessels be cited to appear and answer;



                                                  5
Case 2:19-cv-12025-MLCF-KWR Document 1 Filed 08/05/19 Page 6 of 6



2.    That the vessels be condemned and sold to pay the amount due plaintiffs with

      interest and costs;

3.    That there be judgment in favor of M/V MAAS CONFIDENCE and M/V

      BELFOREST interests and against M/V F.R. BIGELOW and M/V CSS

      ATLANTA interests, for the full amount of damages sustained by M/V MAAS

      CONFIDENCE and M/V BELFOREST interests;

4.    That plaintiffs receive all other general equitable relief to which M/V MAAS

      CONFIDENCE and M/V BELFOREST interests may be entitled.

                                  Respectfully submitted,

                                  PHELPS DUNBAR LLP

                                  BY:    /s/ Kevin J. LaVie
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                                  ATTORNEYS FOR PLAINTIFFS MAAS
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                                  HELLAS CONFIDENCE SHIPMGMT SA, NST
                                  ENTERPRISE SA, BELSHIPS
                                  MANAGEMENT SINGAPORE, AND
                                  BELSHIPS ASA




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